      Christopher N. Coyle, OSB #073501
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                       Case No. 20-31944-pcm12

       Alley Ranches, LLC,

                       Debtor-in-Possession.
       In re                                       Case No. 20-31946-pcm12

       Mike & JD Alley Farms, LLC,                 APPLICATION OF DEBTORS-IN-
                                                   POSSESSION FOR AUTHORITY TO
                                                   EMPLOY ATTORNEY
                       Debtor-in-Possession.       (Vanden Bos & Chapman, LLP)

                                                   NOTICE

               If you oppose the proposed course of action or relief sought in this Application, you

      must file a written objection in each of the above Chapter 12 cases (or, if Debtors-in-

      Possession’s concurrent motion for joint administration is granted, in the designed lead

      bankruptcy case) with the bankruptcy court no later than twenty-one (21) days after the date

      listed in the certificate of service enclosed herewith. If you do not file an objection, the court

      may grant the Application without further notice or hearing. Your objection must set forth the

      specific grounds for objection and your relation to the case. The objection must be received


Page 1 of 4     APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY TO                VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
                EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                            319 SW Washington Street, Suite 520
                                                                                          Portland, Oregon 97204-2690
                                                                                                 (503) 241-4869



                            Case 20-31946-pcm12       Doc 5     Filed 06/19/20
      by the clerk of court at 1050 SW 6th Avenue #700, Portland, OR 97204, by the deadline

      specified above or it may not be considered. You must also serve the objection on the

      respective Debtor, c/o Christopher N. Coyle, Vanden Bos & Chapman, LLP, 319 SW

      Washington Street, Suite 520, (503) 241-4869, within that same time. If the court sets a

      hearing, you will receive a separate notice listing the hearing date, time, and other relevant

      information.

                                               APPLICATION

              The applicants, Debtors-in-Possession, Alley Ranches, LLC and Mike & JD Alley

      Farms, LLC, (collectively “Debtors” or “Debtors-in-Possession”), respectfully request entry of

      the attached Order for the Employment of Counsel for Debtors-in-Possession (Vanden Bos

      & Chapman, LLP) (“Proposed Order”) substantially in the form attached hereto as Exhibit 1

      and represent as follows:

              1.     Debtors have each filed a petition under Chapter 12 of the Bankruptcy Code.

              2.     Debtors each wish to employ the firm of Vanden Bos & Chapman, LLP ("VBC"),

      attorneys duly admitted to practice in this Court, as Debtors' attorneys in this proceeding.

              3.     Debtors have selected VBC for the reason that VBC has experience in matters

      of this character, having worked on many other bankruptcy reorganization cases as

      attorneys.

              4.     The professional services that VBC is to render include: (a) to give Debtors

      legal advice with respect to Debtors' powers and duties as debtors-in-possession in the

      operation of Debtors' business; (b) to institute such adversary proceedings as are necessary

      in the case; (c) to represent Debtors generally in the proceedings and to propose on behalf

      of Debtors as a debtors-in-possession necessary applications, answers, orders, reports and


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                                                                                              Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                           319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
                                                                                               (503) 241-4869



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      other legal papers; and (d) to perform all other legal services for debtors-in-possession or to

      employ an attorney for such professional services.

              5.   To the best of Debtors' knowledge, VBC has no connection with the creditors or

      any other adverse party or its attorneys, except as disclosed in the Rule 2014 Verified

      Statement on file herein.

              6.   VBC represents no interest adverse to the Debtors as debtors-in-possession or

      to the estates in the matters upon which VBC is to be engaged, except as disclosed in the

      Rule 2014 Verified Statement on file herein. VBC's employment would be in the best

      interests of the estates.

              7.   The proposed rate of compensation, subject to final court approval, is the

      customary, hourly rates in effect when services are performed by the attorneys, legal

      assistants and staff who provide services to the Debtors. The proposed terms of

      employment are as set forth in the Attorney/Client Fee Agreement, a copy of which is

      attached as Exhibit 2 and which has been executed by the Debtors and VBC. The current

      hourly rates are as follows:

                     Ann K. Chapman, Managing Partner               $455.00
                     Douglas R. Ricks, Partner                      $405.00
                     Christopher N. Coyle, Partner                  $375.00
                     Colleen A. Lowry, Associate                    $350.00
                     Daniel C. Bonham, Associate                    $275.00
                     Certified Bankruptcy Assistants                $250.00
                     Legal Assistants                               $135.00

      These hourly rates are subject to periodic adjustment to reflect economic conditions and

      increased experience and expertise in this area of the law. Consistent with the court’s order

      in In re Freddie Hankins, Case No. 19-34286-tmb12 (Bankr. Or. January 9, 2020), Debtors

      paid a traditional retainer (held in VBC’s Client Trust Account) and from which fees incurred


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                                                                                             Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                          319 SW Washington Street, Suite 520
                                                                                       Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



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      pre-petition were paid pre-petition; funds remaining in VBC’s Client Trust Account will be

      utilized to pay fees and expenses as provided under order(s) entered pursuant to Section

      330, Local Bankruptcy Rule 2016-1, or as otherwise ordered by the Court.

              WHEREFORE, Debtors pray that Debtors shall be authorized to employ and appoint

      the firm of Vanden Bos & Chapman, LLP to represent Debtors as Debtors-in-Possession in

      this proceeding under Chapter 12 of the Bankruptcy Code.

                                              VANDEN BOS & CHAPMAN, LLP


                                              By:/s/Christopher N. Coyle
                                                Christopher N. Coyle, OSB #073501
                                                Of Attorneys for Debtors-in-Possession

                                              ALLEY RANCHES, LLC


                                              By: /s/Mike Alley
                                              Name: /s/Mike Alley
                                              Title: Manager

                                              MIKE & JD ALLEY FARMS, LLC


                                              By: /s/ Mike Alley
                                              Name: Mike Alley
                                              Title: Manager




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                                                                                            Attorneys at Law
               EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP)                         319 SW Washington Street, Suite 520
                                                                                      Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



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                             IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

        In re                                     Case No. 20-31944-pcm12

        Alley Ranches, LLC,

                       Debtor-in-Possession.
        In re                                     Case No. 20-31946-pcm12

        Mike & JD Alley Farms, LLC,               ORDER FOR THE EMPLOYMENT OF
                                                  COUNSEL FOR DEBTORS-IN-
                                                  POSSESSION (Vanden Bos & Chapman,
                       Debtor-in-Possession.      LLP)

                THIS MATTER having come before the court upon the Application of Debtors-in-

       Possession Alley Ranches, LLC and Mike & JD Alley Farms, LLC (collectively “Debtors” or

       “Debtors-in-Possession” and each a “Debtor”), for Authority to Employ Attorney (Vanden

       Bos & Chapman, LLP) to represent Debtors as the Debtors-in-Possession herein, that the

       connections disclosed in the Rule 2014 Verified Statement of Vanden Bos & Chapman, LLP

       (“VBC”) on file herein do not constitute adverse interests, that VBC represents no interest

       adverse to the Debtors as Debtors-in-Possession herein on the matters upon which VBC is



Page 1 of 3      ORDER FOR THE EMPLOYMENT OF COUNSEL FOR DEBTORS-IN-              VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
                 POSSESSION (Vanden Bos & Chapman, LLP)                             319 SW Washington Street, Suite 520
       Exhibit 1 - Page 1 of 3                                                         Portland, Oregon 97204-2690
                                                                                              (503) 241-4869
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       to be engaged, or to the estate, (except as disclosed in the Rule 2014 Verified Statement on

       file herein), that the firm's employment is necessary and would be in the best interest of the

       estates, and the time for filing an objection having expired and the Court being otherwise

       fully advised, it is hereby ORDERED as follows:

               1.    Debtors are authorized to employ VBC to serve as attorney to represent

       Debtors as Debtors-in-Possession in this proceeding under Chapter 12 of the Bankruptcy

       Code.

               2.    The terms and conditions of the employment of VBC, as set forth in this Order

       and in the Attorney/Client Fee Agreement, are approved.

               3.    Compensation shall be set by the Court to be paid upon Applicant’s

       compliance with the procedures set forth in 11 U.S.C. §330(a)(4)(B).

               4.    This Order shall be effective only if the firm to which it applies is a

       "disinterested person" as defined by 11 U.S.C. §101(14).

                                                      ###




Page 2 of 3      ORDER FOR THE EMPLOYMENT OF COUNSEL FOR DEBTORS-IN-                  VANDEN BOS & CHAPMAN, LLP
                                                                                                 Attorneys at Law
                 POSSESSION (Vanden Bos & Chapman, LLP)                                 319 SW Washington Street, Suite 520
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                                                                                                  (503) 241-4869
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       PRESENTED BY:                                       First Class Mail:

       VANDEN BOS & CHAPMAN, LLP                           Jack Alley, Manager
                                                           Alley Ranches, LLC
                                                           8925 SW Green Dr.
       By:/s/Christopher N. Coyle                          Culver, OR 97734
          Christopher N. Coyle, OSB #073501
          Of Attorneys for Debtors-in-Possession           Jack Alley, Manager
                                                           Mike & JD Alley Farms, LLC
                                                           8925 SW Green Dr.
                                                           Culver, OR 97734

       LBR 9021-1 CERTIFICATION                            Electronic Mail:
       I certify that I have complied with the
       requirement of LBR 9021-1(a); the proposed form     The foregoing was served on all
       of Order served with Motion.                        CM/ECF participants through the
                                                           Court's Case Management/Electronic
                                                           Case File system
       By:/s/Christopher N. Coyle
          Christopher N. Coyle, OSB #073501




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                                                                                          Attorneys at Law
                 POSSESSION (Vanden Bos & Chapman, LLP)                          319 SW Washington Street, Suite 520
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                                                                                           (503) 241-4869
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON
In re                                  )
Alley Ranches, LLC,                    ) Case No. ________________
Mike & JD Alley Farms, LLC,            )
                                       ) RULE 2014 VERIFIED STATEMENT
Debtor(s)                              ) FOR PROPOSED PROFESSIONAL
                                            (Vanden Bos & Chapman, LLP)
Note: To file an amended version of this statement per ¶19, file a fully completed amended Rule 2014
statement on LBF #1114 and clearly identify any changes from the previous filed version.

 1. The applicant is not a creditor of the debtor except:
        N/A

 2. The applicant is not an equity security holder of the debtor.

 3. The applicant is not a relative of the individual debtor.

 4. The applicant is not a relative of a general partner of the debtor (whether the debtor is an individual,
    corporation, or partnership).

 5. The applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    is a general partner.

 6. The applicant is not a general partner of the debtor (whether debtor is an individual, corporation, or
    partnership).

 7. The applicant is not a corporation of which the debtor is a director, officer, or person in control.

 8. The applicant is not and was not, within two years before the date of the filing of the petition, a
    director, officer, or employee of the debtor.

 9. The applicant is not a person in control of the debtor.

10. The applicant is not a relative of a director, officer or person in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was not an investment banker for any outstanding security of the debtor;
    has not been, within three years before the date of the filing of the petition, an investment banker
    for a security of the debtor, or an attorney for such an investment banker in connection with the
    offer, sale, or issuance of a security of the debtor; and is not and was not, within two years before
    the date of the filing of the petition, a director, officer, or employee of such an investment banker.

13. The applicant has read 11 U.S.C. §101(14) and §327, and FRBP 2014(a); and the applicant’s firm
    has no connections with the debtor(s), creditors, any party in interest, their respective attorneys and
    accountants, the United States Trustee, or any person employed in the office of the United States
    Trustee, or any District of Oregon Bankruptcy Judge, except as follows:
See attached Continuation Statement No. 13.




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14. The applicant has no interest materially adverse to the interest of the estate or of any class of
    creditors or equity security holders.

15. Describe details of all payments made to you by either the debtor or a third party for any services
    rendered on the debtor's behalf within a year prior to filing of this case:
Payment of $20,000.00 was deposited into Applicant's trust account on April 14, 2020. From this
amount and prior to the filing of the petition, Applicant transferred from trust and applied $15,411.86 to
its incurred fees and costs and an additional $550.00 in anticipation of the two (2) filing fees of $275.00
for each Debtor's case. Applicant's application to incurred fees and costs included billed, but
unreviewed time; if, after review, Applicant's pre-petition fees and costs are less than $15,411.86, any
remainder will be transferred to trust for benefit of the Debtors-in-Possession.

16. The debtor has the following affiliates (as defined by 11 U.S.C. §101(2)). Please list and explain
    the relationship between the debtor and the affiliate:
Michael D. Alley, Margueritte R. Alley, Jack D. Alley, and Tamera G. Alley (Members - Alley Ranches,
LLC); Michael D. Alley and Jack D. Alley (Members - Mike & JD Alley Farms, LLC)




17. The applicant is not an affiliate of the debtor.

18. Assuming any affiliate of the debtor is the debtor for purposes of statements 4-13, the statements
    continue to be true except (list all circumstances under which proposed counsel or counsel's law
    firm has represented any affiliate during the past 18 months; any position other than legal counsel
    which proposed counsel holds in either the affiliate, including corporate officer, director, or
    employee; and any amount owed by the affiliate to proposed counsel or its law firm at the time of
    filing, and amounts paid within 18 months before filing):
N/A




19. The applicant hereby acknowledges that he/she has a duty during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in this verified statement.
    In the event that any such changes occur, the applicant immediately shall file with the court an
    amended verified statement on LBF #1114, with the caption reflecting that it is an amended Rule
    2014 statement and any changes clearly identified.

THE FOLLOWING QUESTIONS NEED BE ANSWERED ONLY IF AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever filed bankruptcy, the filing date, and court where filed:
N/A




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21. List the names of any affiliates which have guaranteed debt of the debtor or whose debt the debtor
    has guaranteed. Also include the amount of the guarantee, the date of the guarantee, and whether
    any security interest was given to secure the guarantee. Only name those guarantees now
    outstanding or outstanding within the last 18 months:
Michael D. Alley, Margueritte R. Alley, Jack D. Alley, and Tamera G. Alley- multiple guaranties (to be
listed on appropriate Schedule H in the respective cases).




22. List the names of any affiliates which have a debtor-creditor relationship with the debtor. Also
    include the amount and date of the loan, the amount of any repayments on the loan and the
    security, if any. Only name those loans now outstanding or paid off within the last 18 months:
Multiple debtor-creditor relationships exists between and amongst each of Michael D. Alley,
Margueritte R. Alley, Jack D. Alley, Tamera G. Alley, Alley Ranches, LLC and Mike & JD Alley Farms,
LLC. The debts will be included in each Debtor's Schedules D and E/F; the reciprocal claims will be
included in each Debtor's Schedule A/B.




23. List any security interest in any property granted by the debtor to secure any debts of any affiliate
    not covered in statements 20 and 21. List any security interest in any property granted by the
    affiliate to secure any debts of the debtor not covered in statements 21 and 22. Also include the
    collateral, the date and nature of the security interest, the name of the creditor to whom it was
    granted, and the current balance of the underlying debt:
N/A




24. List the name of any affiliate who is potentially a "responsible party" for unpaid taxes of the debtor
    under 26 U.S.C. §6672:
Michael D. Alley, Margueritte R. Alley, Jack D. Alley, and Tamera G. Alley (Members - Alley Ranches,
LLC); Michael D. Alley and Jack D. Alley (Members - Mike & JD Alley Farms, LLC)




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                               ________________________________
                                                               /s/Christopher N. Coyle
                                                                               Applicant

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In re Mike & JD Alley Farms, LLC – Case No. 20-31946-pcm12


Continuation Statement No. 13:

    1. Applicant’s firm, Vanden Bos & Chapman, LLP (“VBC”), maintains deposit
accounts at KeyBank and a credit card account at KeyBank, which is used exclusively
for payments on the Court’s CM/ECF System. VBC also maintains a credit card
account with Capital One for business expenses. Both the KeyBank and Capital One
credit card accounts are paid off monthly with no balance carried forward. Attorneys
and staff at VBC may have social or other professional relationships with Bankruptcy
Court judges, the Clerk of the Bankruptcy Court, clerks and/or staff of the Bankruptcy
Court, employees of the office of the United States Trustee, other federal employees,
and individuals who are members of law firms involved in this case or who are
employed by creditors or other parties in interest. Other than with respect to the United
States Bankruptcy Court for the District of Oregon and the Office of the U.S. Trustee or
as otherwise outlined herein, VBC has conducted no investigation of its attorneys or
staff members’ employment, banking, insurance, brokerage or investment activities or
familial connections in preparing this statement.

   2. The spouse of one of the Partners of Applicant is a current employee of the State
of Oregon. The State of Oregon, including its constituent agencies, is a potential
creditor and party in interest in this case.




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In re Alley Ranches, LLC – Case No. 20-31944-pcm12
In re Mike & JD Alley Farms, LLC – Case No. 20-31946-pcm12




                               CERTIFICATE - TRUE COPY

DATE:             June 19, 2020

DOCUMENT:         APPLICATION OF DEBTORS-IN-POSSESSION FOR AUTHORITY
                  TO EMPLOY ATTORNEY (Vanden Bos & Chapman, LLP); RULE
                  2014 VERIFIED STATEMENT FOR PROPOSED PROFESSIONAL
                  (Vanden Bos & Chapman, LLP); and PROPOSED ORDER FOR THE
                  EMPLOYMENT OF COUNSEL FOR DEBTORS-IN-POSSESSION
                  (Vanden Bos & Chapman, LLP)

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

        Mike Alley, Manager
        Alley Ranches, LLC
        8925 SW Green Dr.
        Culver, OR 97734

        Mike Alley, Manager
        Mike & JD Alley Farms, LLC
        8925 SW Green Dr.
        Culver, OR 97734

by mailing a copy of the above-named document to each of the above in a sealed
envelope addressed to last known address. Each envelope was deposited into the
postal system at Portland, Oregon, on the below date, postage prepaid.
      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: June 19, 2020                   VANDEN BOS & CHAPMAN, LLP



                                        By:/s/Christopher N. Coyle
                                           Christopher N. Coyle, OSB #073501
                                           Of Attorneys for Debtor-in-Possession

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